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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

LATONYA WHITE,

               Plaintiff,
                                                              Case No. 17-cv-12102
v.
                                                              HON. MARK A. GOLDSMITH
EQUITY EXPERTS.ORG, LLC.,

            Defendant.
_____________________________/

                            ORDER DISMISSING CASE WITH PREJUDICE

        The Court, having been advised that this matter has settled by a notice filed by Plaintiff

(Dkt. 56), dismisses the case with prejudice, subject to reopening on or before October 15, 2019,

if the settlement is not consummated, or if the parties stipulate to some other order of dismissal.

        SO ORDERED.

     Dated: August 5, 2019                                    s/ Mark A. Goldsmith
         Detroit, Michigan                                    MARK A. GOLDSMITH
                                                              United States District Judge




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